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                       IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA

                                          SENTENCING
UNITED STATES OF AMERICA,                     )                COURT MINUTES - CRIMINAL
                                              )
                                 Plaintiff,   )          Case No:          15-cr-49 (3) (MJD/FLN)
                                              )          Date:             November 15, 2016
                  v.                          )          Courthouse:       Minneapolis
                                              )          Courtroom:        13E
Adnan Abdihamid Farah (3)                     )          Court Reporter:   Staci Heichert
                                              )          Time Commenced:   1:30 p.m.
                                              )          Time Concluded:   3:15 p.m.
                                 Defendant.   )          Time in Court:    1 hour and 45 minutes
                                              )

Before Michael J. Davis, United States District Judge.
APPEARANCES:

    For Plaintiff:     John Docherty, Andrew Winter and Julie Allyn, Assistant U.S. Attorneys
    For Defendant:     Kenneth Udoibok, CJA Appointed Attorney

: Sentencing.
: All documents filed on ECF under seal or restricted shall remain under seal or restricted unless
otherwise ordered by the Court.

IT IS ORDERED:
Defendant is sentenced to:
    Count. Nos.        Guilty Plea                  BOP                               SR
        2s                   X                    120 months                        20 years

    : Special conditions of: See J&C for special condition.
    : Defendant sentenced to pay:
    : Special assessment in the amount of $100.00 to be paid.
    : Counts 1s and 7s and 8s are dismissed on motion by the Government.
    : Defendant is remanded to the custody of the USM.
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Date: November 15, 2016                                      s/KW
                                                          Courtroom Deputy to Judge Michael J. Davis
